                 Case 12-29246               Doc 25                  Filed 09/10/12 Entered 09/10/12 12:19:46                                                                                Desc Main
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B6F (Official Form 6F) (12/07)


In re Robert John Benditzky                                                                                        ,                                   Case No. 12-29246
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                 Amended 09/10/2012
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                        Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:
          0948                                                      J   11/4/11                                                                                                       X               $ 13,300.00
Creditor # : 1                                                          Debt of corporation
Advanta Credit Cards                                                    Disputed personal liability of
PO Box 31032
                                                                        Trident Investing LLC's debt
Tampa FL 33631-3328



          5212
Account No:                                            X                09/29/11                                                                                                      X               $ 48,161.03
Creditor # : 2                                                          Miscellaneous personal charges
Citibank, N.A.                                                          Personal liability for corporate
1000 Technology Dr.
O Fallon MO 63368-2240                                                  debt




Account No:     5212
Representing:                                                           Blatt,Hasenmiller,Leibsker,Moo
                                                                        125 S. Wacker Dr.
                                                                        Suite 400
Citibank, N.A.                                                          Chicago IL 60606



     4 continuation sheets attached                                                                                                                   Subtotal $                                      $ 61,461.03
                                                                                                                                                                     Total $
                                                                                (Use only on last page of the c om pleted Sc hedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statis tical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                        ,                                    Case No. 12-29246
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                 Amended 09/10/2012
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                            Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                         Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:
          83-3                                                          3/1/06                                                                                                                        $ 320,832.00
Creditor # : 3
CitiMortgage
PO Box 6243
Sioux Falls SD 57117



          1365
Account No:                                                                                                                                                                                            $ 96,000.00
Creditor # : 4                                                          Mortgage foreclosure deficiency
CitiMortgage
PO Box 6243
Sioux Falls SD 57117



Account No:     1365
Representing:                                                           Trott & Trott
                                                                        341440 Northwestern Highway
                                                                        Ste. 200
CitiMortgage                                                            Farmington MI 48334



Account No:
          6143                                          X               July 21, 2011                                                                                                  X               $ 87,838.33
Creditor # : 5                                                          Mortgage foreclosure deficiency
CitiMortgage
P.O. Box 6243
Sioux Falls SD 57117



Account No:     6143
Representing:                                                           Trott & Trott: A PC
                                                                        341440 Northwestern Highway,
                                                                        Ste. 200
CitiMortgage                                                            Farmington MI 48334




Sheet No.      1 of        4 continuation sheets attached to Schedule of                                                                              Subtotal $                                     $ 504,670.33
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                                (Use only on last page of the c om pleted Sc hedule F. Report also on Sum m ary of
                                                                        Schedules and, if applic able, on the Statis tical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                        ,                                    Case No. 12-29246
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                 Amended 09/10/2012
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                            Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                         Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:
          8930                                                      J   October 5, 2011                                                                                                X                $ 2,098.70
Creditor # : 6                                                          Utilities
City of Chicago                                                         Personal liability for corporate
8212 Innovation Way
                                                                        debt (Trident Equities LLC)
Chicago IL 60682-0082



          6881
Account No:                                             X                                                                                                 X                                          $ 182,086.00
Creditor # : 7                                                          Corporate debt
First Midwest Bank                                                      liability for mortgage deficiency
330 N. Wabash, Suite 1700
Chicago IL 60611



Account No:                                             X               November 30, 2010                                                                                              X                    Unknown
Creditor # : 8                                                          Mortgage foreclosure deficiency
FirstMerit Bank N.A.                                                    Case #s 10 CH 50887, 10 CH 50891,
295 First Merit Circle Mtg. 25
                                                                        10 CH 5900
Akron OH 44307



Account No:

Representing:                                                           Ari J. Rosenthal
                                                                        300 S. Wacker Drive
                                                                        Suite 2450
FirstMerit Bank N.A.                                                    Chicago IL 60606



Account No:

Representing:                                                           Karen Halm-Lutterodt
                                                                        300 S. Wacker Drive
                                                                        Suite 2450
FirstMerit Bank N.A.                                                    Chicago IL 60606




Sheet No.      2 of        4 continuation sheets attached to Schedule of                                                                              Subtotal $                                     $ 184,184.70
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                                (Use only on last page of the c om pleted Sc hedule F. Report also on Sum m ary of
                                                                        Schedules and, if applic able, on the Statis tical Sum m ary of Certain Liabilities and Related
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In re Robert John Benditzky                                                                                        ,                                    Case No. 12-29246
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                 Amended 09/10/2012
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                            Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                         Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                             Current balance                                                                                                                $ 68,699.00
Creditor # : 9                                                          Mortgage
IBM Lender Bus. Process Servic                                          Deficiency after foreclosure of
PO Box 4121
                                                                        property
Beaverton OR 97076



Account No:

Representing:                                                           Seterus
                                                                        14523 SW Millikan Way #200
                                                                        Beaverton OR 97005
IBM Lender Bus. Process Servic



Account No:                                             X                                                                                                 X                                          $ 103,510.00
Creditor # : 10                                                         Guarantee of corporate debt
JP Morgan Chase Bank
Bankruptcy Dept.
One First National Plaza
Chicago IL 60670


Account No:

Representing:                                                           Jay K. Levy & Associates
                                                                        PO Box 1181
                                                                        Evanston IL 60201-1181
JP Morgan Chase Bank



          2604
Account No:                                                                                                                                                                                           $ 107,000.00
Creditor # : 11                                                         Morgage forclosure defciency
PNC BANK, N.A.
2730 Liberty Ave.
P5-PCLC-A2-C
Pittsburgh PA 15222-4719




Sheet No.      3 of        4 continuation sheets attached to Schedule of                                                                              Subtotal $                                     $ 279,209.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                                (Use only on last page of the c om pleted Sc hedule F. Report also on Sum m ary of
                                                                        Schedules and, if applic able, on the Statis tical Sum m ary of Certain Liabilities and Related
                 Case 12-29246               Doc 25                  Filed 09/10/12 Entered 09/10/12 12:19:46                                                                                 Desc Main
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In re Robert John Benditzky                                                                                        ,                                    Case No. 12-29246
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                 Amended 09/10/2012
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                            Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                         Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:
          0781                                          X H             01/21/11                                                                                                       X               $ 93,267.63
Creditor # : 12                                                         Corporate debt
PNC BANK, N.A.                                                          Personal liability for corporate
2730 Liberty Ave.
                                                                        debt/line of credit
P5-PCLC-A2-C
Pittsburgh PA 15222-4719


          3356
Account No:                                             X H             various                                                                                                                        $ 54,415.00
Creditor # : 13                                                         Corporate debt
ShoreBank k\n\a Urban
Partnership Bank
7054 S. Jeffery Blvd
Chicago IL 60649


Account No:
          3361                                          X                                                                                                                                              $ 67,831.00
Creditor # : 14                                                         Corporate debt
Shorebank k/n/a Urban
Partnership Bank
75 Remittance Drive
Chicago IL 60675-6514


Account No:




Account No:




Sheet No.      4 of        4 continuation sheets attached to Schedule of                                                                              Subtotal $                                     $ 215,513.63
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                                (Use only on last page of the c om pleted Sc hedule F. Report also on Sum m ary of                                 $ 1,245,038.69
                                                                        Schedules and, if applic able, on the Statis tical Sum m ary of Certain Liabilities and Related
